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             EXHIBIT 1A
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                                            C-0187-17-H
                             CAUSE NO.     ~~~~~~~~~-




JUAN GUERRERO AND                                 §           IN THE DISTRICT COURT
DIANA GUERRERO                                    §
Plaintiffs                                        §
                                                  §
vs.                                               §           - - - - JUDICIAL DISTRICT
                                                  §
STATE FARM LLOYDS                                 §
AND RAFAEL M. NAVARRO                             §
Defendants                                        §           HIDALGO COUNTY, TEXAS

                             PLAINTIFFS' ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

         COME NOW, JUAN GUERRERO AND DIANA GUERRERO, complaining of

STATE FARM LLOYDS AND RAFAEL M. NAVARRO, and for cause of action would show:

                                          I. DISCOVERY

         1. This is a level III discovery case as defined by the Texas Rules of Civil Procedure.

                                           II. PARTIES

         2. Plaintiffs are residents of Hidalgo County, Texas.

         3. Defendant State Farm Lloyds is a Texas Corporation engaging in the business of

insurance in the State of Texas. The defendant may be served with process by serving its registered

agent for the State of Texas: Corporation Service Company, 211 E 7th St, Suite 620, Austin, Texas

78701.

         4. Defendant Rafael M. Navarro is an individual licensed to engage in the business of

adjusting insurance claims in Texas. This defendant may be served with process by serving State

Farm Lloyds' registered agent for the State of Texas: Corporation Service Company, 211 E 7th St,

Suite 620, Austin, Texas 78701

                                 III. JURISDICTION & VENUE

         5. The subject matter in controversy is within the jurisdictional limits of this court. The
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court has jurisdiction over Defendant State Farm Lloyds (hereinafter "State Farm") because it is

engaging in the business of insurance in the State of Texas and over Defendant Rafael M. Navarro

(hereinafter "Navarro") because he is an adjuster for State Farm who operates out of an State Farm

office in Texas. Venue is proper in this county because the insured property is situated in Hidalgo

County, Texas. Tex. Civ. Prac. & Rem. Code§ 15.032.

                                               IV.FACTS

       6. Plaintiffs are the owners of the Texas Homeowner's Insurance Policy (hereinafter

referred to as "the Policy"), which was issued by State Farm.

       7. Plaintiffs own the insured property, located at 1101 Burney Street, Mission, Texas 78572

(hereinafter referred to as "the Property").

       8. State Farm sold the Policy insuring the property to Plaintiffs.

       9. On or about March 26, 2015, Plaintiffs sustained extensive physical damage to the

insured Property. During the late afternoon and evening hours of March 26, 2015, strong supercell

thunderstorms moved through the Mission, Texas area producing heavy rains, and damaging wind

and hail.

        10. Plaintiffs submitted claims to the Defendants against the policy for damages to the

Property as a result of the March, 26, 2015 storm. Plaintiffs requested that the Defendants cover

the costs of these repairs pursuant to the policy they entered into with the Defendants.

        11. The Plaintiffs reported the damage to the covered Property to the Defendant State Farm.

The Defendant wrongfully denied Plaintiffs' claim for full repairs to the Property, even though the

Policy they have with the Defendant provided coverage for losses such as the losses suffered by

the Plaintiffs.   Additionally, the Defendant under-scoped damages during its inspections,

investigations, and payment and made representation that the policy the Plaintiffs have with
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Defendant specifically excluded some repairs.

       12. As of the date of this filing, the Defendant continue to delay in the payment for the

damages to the property. As a result, Plaintiffs have not been paid the full value of the damages

suffered to their home.

       13. Defendant State Farm failed to perform its contractual duties to adequately compensate

Plaintiffs under the terms of the policy. In spite of a demand for proceeds to be paid out in an

amount sufficient to cover the damaged property, Defendant State Farm has categorically refused

to pay the full proceeds available under the policy. Additionally, all conditions precedent to

recovery upon the Policy have been carried out by the Plaintiffs. Defendant State Farm's conduct

constitutes a breach of the insurance contract between Plaintiffs and Defendant.

       14. Defendant State Farm has misrepresented to Plaintiffs there was no damage to areas of

the home that were damaged, and that all damage covered under the Policy has been accounted

for, even though it has not been paid in full. Defendant State Farm's conduct constitutes a violation

of the Texas Insurance Code, Unfair Settlement Practices. Tex. Ins. Code §541.060(a)(l).

        15. Defendant State Farm failed· to make an attempt to settle Plaintiffs' claim in a fair

manner, although it was aware of its liability to Plaintiffs under the Policy. Defendant State Farm's

conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. Tex.

Ins. Code §541.060(a)(2)(A).

       16. Defendant State Farm failed to adequately explain to Plaintiffs the reasons for its offer

of an inadequate settlement. Specifically, Defendant State Farm failed to offer Plaintiffs adequate

compensation, and misrepresented its explanation for why full payment was not being made.

Furthermore, Defendant State Farm did not communicate that any future settlements or payments

would be forthcoming to pay for the entire losses covered under the Policy, nor did it provide any
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explanation for the failure to adequately settle Plaintiffs' claim. Defendant State Farm's conduct

is a violation of the Texas Insurance Code, Unfair Settlement Practices. Tex. Ins. Code

§541 .060(a)(3).

       17. Defendant State Farm refused to fully compensate Plaintiffs, under the terms of the

Policy, even though Defendant State Farm failed to conduct a reasonable investigation.

Specifically, Defendant State Farm performed an outcome-oriented investigation of Plaintiffs'

claim, which resulted in a biased, unfair, and inequitable evaluation of Plaintiffs' losses on the

Property. Defendant State Farm's conduct constitutes a violation of the Texas Insurance Code,

Unfair Settlement Practices. Tex. Ins. Code §541.060(a)(7).

       18. Defendant State Farm failed to accept or deny Plaintiffs' full and entire claim within

the statutorily mandated time of receiving all necessary information. Defendant State Farm's

conduct constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. Tex Ins.

Code §542.056.

       19. Defendant State Farm failed to meet its obligations under the Texas Insurance Code

regarding payment of claim without delay. Specifically, it has delayed full payment of Plaintiffs'

claim longer than allowed and, to date, Plaintiffs have not n~ceived full payment for their claim.

Defendant State Farm's conduct constitutes a violation of the Texas Insurance Code, Prompt

Payment of Claims. Tex. Ins. Code §542.058.

       20. Since the date Plaintiffs presented their claim to Defendant State Farm, the liability of

Defendant State Farm to pay the full claim in accordance with the terms of the Policy was

reasonably clear. However, Defendant State Farm has refused to pay Plaintiffs in full, despite

there being no basis whatsoever on which a reasonable insurance company would have relied to

deny the full payment. Defendant State Farm's conduct constitutes a breach of the common law
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duty of good faith and fair dealing.

        21. 'Defendant State Farm knowingly or recklessly made false representations, as described

above, as to material facts and/or knowingly concealed all or some material information from

Plaintiffs.

        22. As a result of Defendant State Farm's wrongful acts and omissions, Plaintiffs were

forced to retain the professional services of the attorney and law firm who are representing them

with respect to these causes of action.

                                       V. CAUSES OF ACTION

 Causes of Action against State Farm and Rafael M. Navarro's Noncompliance with Texas

                          Insurance Code: Unfair Settlement Practices

        23. Defendants, State Farm and Navarro's, conduct constitute multiple violations of the

Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE. §541.151.

        24. Defendant, Navarro, is liable for its unfair and deceptive acts, irrespective of the fact it

was acting on behalf of State Farm, because it is a "person" as defined by TEX. INS. CODE.

§541.002(2).    The term "person" is defined as "any individual, corporation, association,

partnership, reciprocal or inter-insurance exchange, Lloyd's plan, fraternal benefit society, or other

legal entity engaged in the business of insurance, including an agent, broker, adjuster or life and

health insurance counselor." TEX. INS. CODE. §541.002(2) (emphasis added). (See also Liberty

Mutual insurance Co. V Garrison Contractors. Inc .. 966 S.W. 2d 482. 484 <Tex. 1998) (holding

ah insurance company employee to be a "person" for the purpose of bringing a cause of action

against them under the Texas Insurance Code and subjecting them to individual liability).

        25. Defendants, State Farm and Navarro's, unfair settlement practices, as described above,

of misrepresenting to Plaintiffs material facts relating to the coverage at issue, constitutes an unfair
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method of competition and an unfair and deceptive act or practice in the business of insurance.

TEX. INS. CODE. §541.060(a)(l).

       26. The unfair settlement practices of Defendants, State Farm and Navarro, as described

above, of failing to promptly provide Plaintiffs with a reasonable explanation of the basis in the

Policy, in relation to the facts or applicable law, for the offer of a compromise settlement of

Plaintiffs' claim, constitute an unfair methods of competition and an unfair and deceptive acts or

practices in the business of insurance. TEX. INS. CODE. §541.060(a)(3).

       27. Defendants, State Farm and Navarro's, unfair settlement practices, as described above,

of refusing to pay Plaintiffs' claim without conducting a reasonable investigation, constitutes an

unfair method of competition and an unfair and deceptive act or practice in the business of

insurance.TEX. INS. CODE. §541.0609(a)(7).

                              Fraud against all Defendant Parties

       28. Defendants State Farm and Navarro are liable to Plaintiffs for common law fraud.

       29. Defendants made material misrepresentations to Plaintiffs as to the extent of their

damages, the need for repairs, the quality of their services, and the extent of the coverage provided

by the Policy of those damages. Each and every one of the representations, as described above,

concerned material facts relied upon by Plaintiffs which Defendants, State Farm and Navarro,

knew were false or made recklessly without any knowledge of their truth as a positive assertion.

       30. The statements were made with the intention that they should be acted upon by

Plaintiffs, who in turn acted in reliance upon the statements proximately causing Plaintiffs to suffer

injury and damages as described herein below.
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                 Conspiracy to Commit Fraud against all Defendant Parties

       31. Defendants State Farm and Navarro are liable to Plaintiffs for conspiracy to commit

fraud. Defendants State Fann and Navarro were members of a combination of two or more persons

whose object was to accomplish an unlawful purpose by unlawful means. In reaching a meeting

of the minds regarding the course of action to be taken against Plaintiffs, Defendants, State Farm

and Navarro, committed an unlawful, overt act to further the object of the conspiracy. Plaintiffs

suffered injury as a proximate result.

                  CAUSES OF ACTION AGAINST STATE FARM ONLY

       32. Defendant State Farm is liable to Plaintiffs for breach of contract, as well as intentional

violations of the Texas Insurance Code and intentional breach of good faith and fair dealing.

                                         Breach of Contract

       33. Defendant State Farm's conduct as described supra constitutes a breach of the

insurance contract made between State Fann and Plaintiffs.

       34. Defendant State Farm's failure and refusal, as described above, to pay the adequate

compensation as it is obligated to do under the terms of the Policy in question and under the laws

of the State of Texas, constitutes a breach of State Farm's insurance contract with Plaintiffs which

proximately caused Plaintiffs the loss of the policy benefits.

          Noncompliance with Texas Insurance Code: Unfair Settlement Practices

       35. Defendant State Farm's conduct constitutes multiple violations of the Texas Insurance

Code, Unfair Settlement Practices. TEX. INS. CODE. §541.060(A). All violations under this

article are made actionable by TEX. INS. CODE. §541.151.

       36. Defendant State Farm's unfair settlement practice, as described above, of

misrepresenting to Plaintiffs material facts relating to the coverage at issue, constitutes an unfair
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method of competition and an unfair and deceptive act or practice in the business of insurance.

TEX. INS. CODE. §541.060(a)(l).

       37. Defendant State Farm's unfair settlement practice, as described above, of failing to

attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though

State Farm's liability under the Policy was reasonably clear, constitutes an unfair method of

competition and an unfair and deceptive act or practice in the business of insurance. TEX. INS.

CODE. §541.060(a)(2)(A).

       38. Defendant State Farm's unfair settlement practice, as described above, of failing to

promptly provide Plaintiffs with a reasonable explanation of the basis in the Policy, in relation to

facts or applicable law, for their offer of a compromise settlement of the claim, constitutes an

unfair method of competition and an unfair and deceptive act or practice in the business of

insurance. TEX. INS. CODE. §541.060(a)(3).

       39. Defendant State Farm's unfair settlement practice, as described above, of failing within

a reasonable time to affirm or deny coverage of the claim to Plaintiffs, or to submit a reservation

of rights to Plaintiffs, constitutes an unfair method of competition and an unfair and deceptive act

or practice in the business of insurance. TEX. INS. CODE. §541.060(a)(4).

       40. Defendant State Farm's unfair settlement practice, as described above, ofrefusing to

pay Plaintiffs' claim without conducting a reasonable investigation, constitutes an unfair method

of competition and unfair and deceptive act or practice in the business of insurance. TEX. INS.

CODE. §541.060(a)(7).
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        Noncompliance with Texas Insurance Code: The Prompt Payment of Claims

       41. Defendant State Farm's conduct constitutes multiple violations of the Texas Insurance

Code, Prompt Payment of Claims. All violations made under this article are made actionable by

TEX. INS. CODE. §542.060.

       42. Defendant State Farm's failure to acknowledge receipt of Plaintiffs' claim, commence

investigation of the claim, request from Plaintiffs all items, statements, and forms that they

reasonable believed would be required within the applicable time constraints, and pay the full

amount of the claim, as described above, constitutes a non-prompt payment of claim and a

violation of the TEX. INS. CODE §542.056(a).

                        Breach of Duty of Good Faith and Fair Dealing

       43. Defendant State Farm's conduct constitutes a breach of the common law duty of good

faith and fair dealing owed to an insured in insurance contracts.

       44. Defendant State Farm's failure, as described above, to adequately and reasonably

investigate and evaluate Plaintiffs' claim when State Farm knew, or should have known, by the

exercise of reasonable diligence that its liability was reasonably clear, constitutes a breach of the

duty of good faith and fair dealing which proximately caused Plaintiffs' damages as described

herein below.

                                           KNOWLEDGE

       45. The acts of Defendants are in violation of the Insurance Code described above were

done "knowingly," as that item is used in the Texas Insurance Code, and were producing causes

of Plaintiffs' damages described herein.

                                           VI.DAMAGES

       46. Plaintiffs will show that all of the aforementioned acts, taken together or singularly,

constitute the proximate or producing causes of the damages sustained by Plaintiffs.
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         47. As previously mentioned, the damages caused by the storms described above rendered

Plaintiffs' property substantially damaged. These damages have not been properly addressed or

repaired in the months since the storm, causing further damages to the Property and causing undue

hardship and burden to Plaintiffs. These damages are a direct result of Defendants', State Farm and

Navarro's, mishandling of Plaintiffs' claim in violation of the laws set forth above.

         48. For breach of contract, Plaintiffs are entitled to regain the benefit of their bargain, which

is the amount of their claim, together with attorneys' fees.

         49. For noncompliance with the Texas Insurance Code, Unfair Settlement Practices,

Plaintiffs are entitled to actual damages, which include the loss of the benefits that should have

been paid pursuant to the policy, mental anguish, court costs and attorney's fees.

         50. For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiffs

are entitled to the amount of their claim, as well as eighteen (18) percent interest per annum of the

amount of such claim as damages, together with attorney's fees. TEX. INS. CODE. §542.060.

         51. For breach of the Common Law duty of good faith and fair dealing, Plaintiffs are

entitled to compensatory damages, including all forms of loss resulting from the insurer's breach

of duty, such as additional costs, economic hardship, losses due to nonpayment of the amount the

insurer owed, exemplary damages and damages for emotional distress.

         52. For fraud, Plaintiffs are entitled to recover actual damages and exemplary damages for

knowing fraudulent and malicious representations, along with attorneys' fees, interest and court

costs.

         53. For the prosecution and collection of this claim, Plaintiffs have been required to retain

the services of the undersigned attorneys and is entitled to recover their reasonable and necessary

attorneys' fees.
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       54. As a result of the knowing violations of the Texas Insurance Code, Plaintiffs are entitled

to recover treble damages pursuant to the provisions of the Texas Insurance Code.

       55. As required by Rule 47(b), Texas Rules of Civil Procedure, Plaintiffs counsel states

that the damages sought are in an amount within the jurisdictional limits of this Court. As required

by Rule 47(c), Texas Rules of Civil Procedure, Plaintiffs counsel states that Plaintiff seeks

monetary relief, the maximum of which is not more than $75,000.00. The amount of monetary

relief actually awarded, however, will ultimately be determined by a jury. Plaintiff also seeks pre-

judgment and post-judgment interest at the highest legal rate.

                                    VII. WRITTEN DISCOVERY

                                       Requests for Disclosure

        56. Under Texas Rule of Civil Procedure 194, plaintiff requests that defendants disclose,

within 50 days of the service of this request, the information or material described in Rule 194.2.

    Plaintiff's   1st   Requests for Production to Defendant State Farm and Rafael Navarro

        57. Please produce a copy of your entire claims file, including memos, emails, estimates,

records, a complete copy of the policy, letters, evaluations, etc. If you make claim of privilege for

any documents requested in this request for production, then pursuant to TRCP 193 .3(b), consider

this Plaintiffs request that you identify the information and material withheld and the specific

privilege asserted by producing a privilege log of each document withheld.

        58. Please produce all non-privileged emails and other forms of communication between

State Farm, its agents, adjusters, employees, or representatives and the adjuster, and/or their agents,

adjusters, representatives or employees relating to, mentioning, concerning or evidencing the

Plaintiff's property which is the subject of this suit.
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       59. Produce any complete file (excluding all privileged portions) in State Farm's

possession for the Plaintiff/insured and/or for the Plaintiffs property as listed in Plaintiffs

Original Petition, relating to or arising out of any claim for damages which State Farm opened a

claim under any policy. Please produce a privilege log for any portions withheld on a claim of

privilege.

        60. Produce the complete claim or adjusting file for Plaintiffs property. Please produce a

privilege log for any portions withheld on a claim of privilege.

        61. Produce all emails and other forms of communication between State Farm and and/or

their agents, adjusters, representatives or employees relating to, mentioning, concerning or

evidencing the Plaintiffs property which is the subject of this suit. This includes any

correspondence or communications related to the Plaintiffs property, whether related to this claim

or any other claim in State Farm's possession. Please produce a privilege log for any items

withheld on a claim of privilege.

                                           VIII. PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that upon trial hereof, said

Plaintiffs have and recover such sums as would reasonably and justly compensate them in

accordance with the rules of law and procedure, as to actual damages, treble damages under the

Texas Insurance Code, and all punitive and exemplary damages as may be found. In addition,

Plaintiffs request the award of attorney's fees for the trial and any appeal of this case, for all costs

of Court on their behalves expended, for prejudgment and post-judgment interest as allowed by

law, and for any other and further relief, either at law or in equity, to which they may show

themselves justly entitled.

                                                        Respectfully submitted,
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